                             IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF IOWA
                                            CEDAR RAPIDS          DIVISION
UNITED STATES OF AMERICA,                                                       HEARING MINUTES Sealed: No
            Plaintiff(s)                                                        Case No.: 1:19-mj-60-MAR
      vs.                                                                Presiding Judge: Mark A. Roberts, Magistrate
PAUL DAVID HOFF,                                                            Deputy Clerk: Paul Coberly
            Defendant(s)                                           Official Court Record: FTR Gold             Contract?           --
                                                                    Contact Information:                    --
Date:     2/19/2019 Start:        3:15 PM Adjourn:    3:20 PM Courtroom: 4
Recesses:                            --                   Time in Chambers:                  --              Telephonic?   No
Appearances:        Plaintiff(s): AUSA Ashley L. Corkery
                   Defendant(s): AFPD Christopher J. Nathan – this hearing only (Defendant appears personally)
                 U.S. Probation: Cody Jonker
                     Interpreter:              --                   Language:          --        Certified:    --   Phone:  --
TYPE OF PROCEEDING:           INITIAL APPEARANCE:             X   AND/OR        ARRAIGNMENT:
                                                                       Contested?     No     Continued from a previous date?       No
                      Date of complaint:              2/14/2019
                      Was defendant Mirandized? Yes
                      Defendant pleaded                                                         --
                      Counsel:        Retained:             or Appointed: X FPD/Other:                   CJA Panel to be appointed
                      Stipulation to discovery plan?      --     Did defendant provide financial affidavit? No
                      Did the government move for detention?           Yes Was the defendant detained?        Yes
                      Was a detention hearing set? Yes Date:              2/21/2019 3:30 PM
                      Was a trial date set?            --     Date:                 --
                      Witness/Exhibit List is         N/A
                      The offering party must, within 3 days after the hearing, file in electronic form any exhibit that was not filed
                      with a motion, resistance, or other filing related to this hearing. Pub. Admin. Order 09-AO-03-P (5/29/09) ¶7.
                      Miscellaneous: Financial affidavit due by 2/24/2019.

                                         Court informs the defendant that he has the right to be charged by an indictment.

                                         Defendant waives a preliminary hearing.

                                         Mr. Nathan informs the court that his office is conflicted from representation of Mr. Hoff,
                                         and requests that a CJA Panel attorney be appointed.




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